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•   Pro Se_151Rev. 12J16)Complaint for Violation ofCivil Rights(Non—Prisoner)



                                          UNITED ST                fiaCT COURT
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                                                                     S. DiSTRCCITAPRT
                                                                         E DISTRICT ALA
                                                                                  Case No.     c?1W-c,v-705-/MIT- WC,
                                                                                                (to befilled in by the Clerk's Office)

                                Plainhff(s)
    (Write thefull name ofeach plaintiffwho isfiling this complaint.
    Ifthe names ofall the plainhffs cannotfit in the space above,
                                                                                  Jury Trial: (check one) Efres        ID No
    please write "see attached" in the space and attach an additional
    page with thefidl list ofnames.)
                                    -v-

     eVa•-e-Aeoz.,
    a.)e/.6              r-50 dosAlk._
                               Defendant(s)
    (Write thefull name ofeach defendant who is being sued. Ifthe
    names ofall the defendants cannotfit in the space above,please
    write "see attached" in the space and attach an additionalpage
    with thefull list ofnames. Do not include addresses here.)



                                    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                              (Non-Prisoner Complaint)


                                                                         NOTICE

        Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
        electronic court files. Under this rule, pipers filed with the court should not contain: an individual's full social
        security number or full birth date; the full name of a person known to be a minor; or a complete financial account
        number. A filing may include only: the last four digits of a social security number; the year ofan individual's
        birth; a minor's initials; and the last four digits of a financial account number.

        Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
        other materials to the Clerk's Office with this complaint.

       In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
       forma pauperis.




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•   Pro Se 15(Rev. 12/16) Complaint for Violation of Civil Rights(Non—Prisoner)


    I.        The Parties to This Complaint

              A.         The Plaintiff(s)

                        Provide the information below for each plaintiff named in the coMplaint. Attach additional pages if
                        needed.                                           ""*",,
                              Name
                              Address
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                                                                          >770    exy                                        Szo//
                                                                                         Czr                  ✓    State              Zip Code
                              County
                              Telephone Number                            Cpe4,                          4'
                                                                                                          d
                              E-Mail Address

              B.         The Defendant(s)

                        Provide the information below for each defendant named in the complaint, whether the defendant is an
                        individual, a government agency, an organization, or a corporation. For an individual defendant,
                        include the person's job or title (ifknown)and check whether you are bringing this complaint against
                        them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                        Defendant No. 1
                              Naine
                              Job or Title afknown)                                     IL/F01   A BM/


                              Address                                                  JTO - Y--(50'
                                                                           New           City                      State
                                                                                                                               sI9    Zip Code
                              County
                              Telephone Number                             C3          1)32,•c--- L743
                              E-Mail Address afknown)

                                                                                  Individual capacity             Official capacity

                        Defendant No.2
                              Name                                        4t9e-/.6 arc%r 0 /   4 /225   '-5/--p-AgaQy
                              Job or Title (ifknown)                     _C:6-,,ze,c0 414e/74,-4004c.               -
                              Address                                    2S.2.4) ...FRA4e4411 igypichers
                                                                           Memilno,memi                           A4          361/.1-
                                                                                                                   State              Zip Code
                              County                                    /176,A-449.ie
                              Telephone Number                                    q31.-IZZ
                              E-Mail Address ('fknówn)

                                                                              Individual capacity                 Official capacity




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                        Defendant No. 3
                              Name
                              Job or Title (i knOwn)
                              Address

                                                                                   City               State             Zip Code
                              County
                              Telephone Number
                              E-Mail Address (ifknown)

                                                                        El Individual capacity   El Official capacity


                        Defendant No.4
                              Name
                              Job or Title (ifknown)
                              Address

                                                                                   City               State             Zip Code
                              County
                              Telephone Number
                              E-Mail Address (ifknoWn)

                                                                        El Individual capacity   El Official capacity

    II.       Basis for Jurisdiction

              Under 42 U.S.C.§ 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
              immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
              Federal Bureau ofNarcotics, 403 U.S. 388(1971), you may sue federal officials for the violation of certain
              constitutional rights.

              A.        Are you bringing suit against(check all that apply):

                        El Federal officials(a Bivens claim)
                              State or local officials(a § 1983 claim)

              B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                        the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                        federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




              C.        Plaintiffs suing under Bivens may o recover for the violation of certain constitutional rights. If you
                        are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                        officials?


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                              C../
             D.        Section 1983 allows defendants to be found liable only when they have acted "under color ofany
                       statute, ordinance, regulation, custom, or usage, ofany State or Territory or the District ofColumbia."
                       42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                       of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                       federal law. Attach additional pages ifneeded.

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            Statement of Claim

            State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
            alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
            further details such as the names ofother persons involved in the events giving rise to your claims. Do not cite
            any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
            statement ofeach claim in a separate paragraph. Attach additional pages if needed.

            A.         Where did the events giving rise to your claim(s)occur?
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            B.         What date and approximate time did the events giving rise to yOilt claim(s)occur?
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                                                   7 Z-(1)
            C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                       Was anyone else involved? Who else saw what happened?)

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    IV.     Injuries

            If you sustained injuries related to the events alleged above, describe your injuries and state what medical
            treatment, if any, you required and did or did not receive.
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    V.       Relief

            State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
            If requesting money damages, include the amounts of any actual darnages and/or punitive darnages claimed for
            the acts         Explain the basis for these claims.

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    VI.      Certification and Closing

             Under Federal Rule of Civil Procedure 11, by signing below,I certify to the best of my knowledge,information,
             and belief that this complaint(1)is not being presented for an improper purpose, such as to harass, cause
             unnecessary delay, or needlessly increase the cost oflitigation;(2)is supported by existing law or by a
             nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
             evidentiary support or, if specifically so identified, will hkely have evidentiary support after a reasonable
             opportunity for further investigation or discovery; and(4)the complaint otherwise complies with the
             requirements of Rule 11.


             A.         For Parties Without an Attorney

                        I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                        served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                        in the dismissal of my case.

                        Date ofsigning:
                                                        4     c:V2_doxers"-'

                        Signature ofPlaintiff -
                        Printed Name ofPlaintiff                                       Z„eirei
                                                                                             s   a07;


             B.         For Attorneys

                        Date ofsigning:


                        Signature of Attorney               1_4
                        Printed Name of Attomey
                        Bar Number
                        Name of Law Firm
                        Address

                                                                                City             State        Zip Code
                        Telephone Number
                        E-mail Address




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